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                              No. 22-56012


                                  In the

United States Court of Appeals
                  For the Ninth Circuit
                            __________________

                   FEDERAL TRADE COMMISSION,
                                          Plaintiff-Appellee,

                                     v.

              TRIANGLE MEDIA CORPORATION, et al.,
                                        Defendants-Appellees.
                             v.

WELLS FARGO & COMPANY and WELLS FARGO BANK, N.A., proposed
                      Intervenors,
                                      Movants-Appellants,
                  __________________

                      THOMAS W. MCNAMARA,
                                                      Receiver-Appellee.
                          __________________

             On Appeal from the United States District Court
                 for the Southern District of California
                   The Honorable Larry Alan Burns
                 Case No. 3:18-cv-01388-LAB-WVG
                         __________________

REPLY BRIEF OF APPELLANTS WELLS FARGO & COMPANY AND
                WELLS FARGO BANK, N.A.
                   __________________

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                              June 29, 2023
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                                   INTRODUCTION

      The question in this case is whether Wells Fargo can intervene to challenge

the district court’s orders allowing the Receiver to wage a litigation war against

Wells Fargo based on an invalid theory of authority. The district court, the FTC, and

the Receiver, however, have miscast Wells Fargo’s basis for intervention as an

attempt to reopen the Stipulated Judgments with third parties. They are wrong. Wells

Fargo has no intent to disturb the Stipulated Judgments. It simply objects to the

ongoing unlawful campaign to satisfy those judgments by pursuing Wells Fargo’s

assets.

      That mischaracterization of Wells Fargo’s motion to intervene underscores

the district court’s errors in barring Wells Fargo’s challenge under Article III and

Rule 24. This Court should reverse and allow Wells Fargo to challenge the district

court’s orders. These orders set a bounty on Wells Fargo based on the construction

of the FTC Act that the Supreme Court rejected in AMG Capital Management, LLC

v. FTC, 141 S. Ct. 1341, 1352 (2021) (Section 13(b) of the FTC Act “does not grant

the Commission authority to obtain equitable monetary relief”).

      As to Article III standing, Wells Fargo’s injury is concrete and particularized

because Wells Fargo is now being pursued based on orders appointing the Receiver

and granting him authority to sue Wells Fargo that are rooted in an invalidated

construction of Section 13(b). Wells Fargo’s injury can be redressed by the district



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court vacating or modifying its orders granting the Receiver authority to pursue

Wells Fargo to collect monetary damages. Indeed, this redress can only be made

before the district court that issued the orders because challenges to the orders

elsewhere are barred by the collateral-attack doctrine.

      As to Wells Fargo’s intervention, again, the district court, the FTC, and the

Receiver fail to understand that a court cannot begin to measure timeliness until an

intervening party has Article III standing to intervene. In Wells Fargo’s case, it did

not have Article III standing until the Receiver filed the Wells Fargo Litigation in

July of 2021. Also critical to the timeliness analysis is that Wells Fargo was bound

by the Apex district court’s Standing Order, which required Wells Fargo to

meaningfully meet and confer before moving to intervene. In doing so, Wells Fargo

complied with the letter and spirit of that court’s Standing Order, by considering the

FTC’s and the Receiver’s arguments and consequently narrowing the issues for

intervention here. The upshot of the district court’s erroneous ruling is that Wells

Fargo will be boxed out from challenging orders that have already created concrete

and particularized injury. And the district court’s circumvention of recent Supreme

Court precedent will be rendered unreviewable. This Court should reverse.

                                    ARGUMENT

I.    Wells Fargo Has Article III Standing.

      The FTC and the Receiver continue to mischaracterize and marginalize Wells



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Fargo’s injuries as too speculative to meet the requirement that its injury is actual or

imminent and prematurely jumps to merits arguments. Receiver Br. at 35-36; FTC

Br. at 21-24. However, Wells Fargo showed that it satisfies all the Article III

requirements to challenge the erroneous orders instigating the Receiver’s monetary

damages campaign. TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021);

Opening Br. at 20-22. First, Wells Fargo is suffering the Article III injury of being

subject to that litigation campaign, which the district court ignored in

mischaracterizing Wells Fargo’s injury as “hav[ing] to pay a monetary judgment

contingent on the Receiver’s success in the separate Wells Fargo Litigation.” 1-ER-

7. The Receiver and the FTC likewise continue to mischaracterize Wells Fargo’s

injury as “nebulous” and rely on merits arguments. Receiver Br. at 34-36; FTC Br.

at 21-24. Second, Wells Fargo’s injury is redressable. The district court erroneously

engaged in a merits-based analysis, essentially imposing a new requirement that

proposed intervenors prove a likelihood of success on the merits. 1-ER-7–8. Like

the district court, the FTC and the Receiver erroneously and prematurely rely on a

merits analysis to argue against redressability and fail to address the collateral-attack

doctrine that requires Wells Fargo to seek redress before the district court. And there

is no dispute that Wells Fargo satisfies the traceability requirement. Opening Br. at

21-22.




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      A.     Wells Fargo has a Cognizable, Concrete Injury.

      Wells Fargo’s injury is concrete and actual. Relying on an inaccurate view of

Wells Fargo’s injury, the FTC and the Receiver argue that (1) Wells Fargo fails to

identify its harm and instead marginalize Wells Fargo’s harm to litigation costs, and

(2) Wells Fargo’s injury fails because the Receiver’s Action is proper. Receiver Br.

at 34-36; FTC Br. at 21-24. These arguments fail for three reasons.

      First, contrary to the FTC and the Receiver’s arguments, Wells Fargo has

clearly identified its “continuing harm directly imposed on Wells Fargo as a result

of the district court’s deputization of the Receiver to hire outside counsel and sue

Wells Fargo for monetary damages that the Receiver is no longer properly entitled

to pursue.” Opening Br. at 20. Wells Fargo does not assert that its injury is based

upon a future potential finding of liability, a potential judgment for damages as a

result of the Receiver’s lawsuit, or limited to the cost of litigation. See Opening Br.

at 20-22. With orders founded on a now invalid construction of Section 13(b), the

district court empowered the Receiver to pursue Wells Fargo. The Receiver took full

advantage of the impermissible grant of power, such that once the Receiver sued

Wells Fargo, Wells Fargo suffered a concrete and actual injury. See, e.g.,

Ciesniewski v. Aries Cap. Partners, Inc., No. 1:16-CV-817-WTL-TAB, 2018 WL

4491211, at *2 (S.D. Ind. Sept. 19, 2018) (finding standing where plaintiff had to

defend himself in a prior garnishment action later found to be brought by parties who



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were not entitled to collect). Contrary to the Receiver’s argument, Ciesniewski fully

supports the principle that defending against an unlawful lawsuit amounts to a

concrete, particularized, and actual injury. Here, the Receiver’s Action against Wells

Fargo is unlawful because the Supreme Court made clear that Section 13(b) does not

permit prospective monetary relief. AMG Cap. Mgmt., LLC, 141 S. Ct. at 1349-50.

Accordingly, the Receiver’s unlawful pursuit is Wells Fargo’s concrete and actual

injury, which satisfies the injury requirement for Article III standing.

      Second, the FTC’s arguments about the validity of the Stipulated Judgments

are a red herring. See FTC Br. at 22-24. As an initial matter, Wells Fargo’s motion

to intervene, and this appeal, do not seek to vacate or amend those Stipulated

Judgments. Wells Fargo was not a party to the Stipulated Judgments and thus does

not have standing to challenge the Stipulated Judgments. Wells Fargo’s intervention

to challenge the district court’s orders is further distinguishable because Wells

Fargo’s challenge is only to the overbroad and unlawful reach of the orders granting

the Receiver the ability to sue Wells Fargo to recover damages based upon the

monetary judgments to the extent they are erroneously predicated on Section 13(b).

It is not a direct challenge to the Stipulated Judgments. See Opening Br. at 1-2, 3,

18, 21, 23, 30, 31. Even if the Stipulated Judgments are valid because they were

entered into before AMG Capital, new efforts to recover monetary judgments

erroneously predicated on Section 13(b) post-AMG Capital are improper. Indeed,



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third-party litigation to recover monetary judgments predicated on Section 13(b)

have been voluntarily dismissed by court-appointed receivers and monitors in other

cases, including other cases in which the Receiver has been appointed. See 1-SER-

115–16 (McNamara, the court-appointed monitor in FTC v. AMG Cap. Servs. Inc.,

Case No. 2:12-cv-00536-GMN-VCF, conceding that he no longer has authority to

pursue litigation stemming from the underlying FTC action in light of the Supreme

Court’s AMG Capital decision and dismissing parallel actions).

      Lastly, the argument that Wells Fargo suffers no injury from having to face

the Receiver’s suit because the challenged monetary remedies in the Stipulated

Judgments are supported by other sources of authority, such as ROSCA and Section

19, also fails for several reasons. FTC Br. at 22-24. First, even if Section 19 is a basis

for recovery, it is well-established that any recovery under Section 19 is limited to

consumer redress. AMG Cap. Mgmt., LLC, 141 S. Ct. at 1346 (Congress enacted

Section 19, which authorizes courts to grant “such relief as the court finds necessary

to redress injury to consumers”); FTC v. Figgie Int’l, Inc., 994 F.2d 595, 607 (9th

Cir. 1993) (Congress’s intent under Section 19 is “only to authorize redress to

consumers and others for ‘injury resulting ’from the trade practice”); FTC v. Wash.

Data Res., 856 F. Supp. 2d 1247, 1281 (M.D. Fla. 2012), aff’d sub nom. FTC v.

Wash. Data Res., Inc., 704 F.3d 1323 (11th Cir. 2013) (Section 19 “prohibits

disgorgement in excess of consumer redress”). However, the Receiver seeks to



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potentially recover more than $160,000,000 from Wells Fargo—well above and

beyond any consumer redress.1 FER-22 (citing to RJN, Ex. C. Wells Fargo Litigation

Complaint). Even if Section 19 were a basis for the FTC’s recovery, Wells Fargo

has suffered an injury because the Receiver seeks to recover beyond what is

permitted. Further, the extent of any recovery under current law will need to be

determined by the district court in a merits determination. Accordingly, Wells Fargo

has satisfied the injury requirement for Article III standing.

      B.     Wells Fargo’s Injury Can Only Be Redressed by the District
             Court That Issued the Challenged Orders.

      Wells Fargo’s injury stems from the district court’s orders appointing the

Receiver and authorizing the Receiver to sue Wells Fargo. Opening Br. at 4-5. Its

injury can be redressed by vacating or modifying those orders. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 561 (1992). The district court, the FTC, and the Receiver all

erroneously engaged in a merits-based analysis about whether the Receiver could

nevertheless pursue monetary damages under Section 19, ROSCA, and state law

claims to determine redressability—even though those issues were not before the

district court. Receiver Br. at 36-39; FTC Br. at 25-27; 1-ER-6; 2-ER-26–30. It is



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  The Stipulated Judgments between the FTC and the Apex Defendants and Triangle
Defendants are the result of negotiated “no-fault” contractual agreements between
the parties, which do not include any findings of consumer redress. See 1-ER-125–
48; 1-ER-100–24; FTC v. Apex Cap. Grp., LLC, No. 2:18-cv-9573-JFW-JPR
(C.D. Cal. filed Sept. 11, 2019), Dkts. 120, 121.

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well established that redressability is a preliminary determination, with the merits to

be decided after full briefing of the substantive issues post-intervention. Maya v.

Centex Corp., 658 F.3d 1060, 1068 (9th Cir. 2011). Wells Fargo has been denied the

opportunity to fully brief the substantive issues.

      If Wells Fargo succeeds in challenging the appointment orders, its injury will

be redressed. If the district court were to modify its order appointing the Receiver to

reflect the proper scope of his equitable authority, the Receiver would no longer be

able to pursue Wells Fargo for monetary damages rooted in the Stipulated

Judgments. Such a determination needs to be made after Wells Fargo is permitted to

intervene and then able to brief the merits.

      Further, the district court erred in holding that Wells Fargo’s injury could be

redressed by raising the issue in the Wells Fargo Litigation. 1-ER-10–11. The

collateral-attack doctrine—which both the FTC and the Receiver ignore in their

response briefs—requires Wells Fargo’s challenge to be brought in the action that

entered the challenged orders. Any challenges to the Receiver’s authority must be

made to the district court that issued the order; challenges in any other case would

be stricken as a collateral attack on the orders. The collateral-attack doctrine thus

requires that Wells Fargo’s injury be redressed by the district court in the case the

order was issued—and only in the issuing court. United States v. Palomar-Santiago,

141 S. Ct. 1615, 1622 (2021) (collateral attack doctrine requires that challenge to an



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order be made in case in which the order was issued); Mullis v. U.S. Bankr. Court

for Dist. of Nev., 828 F.2d 1385, 1393 (9th Cir. 1987); Grant v. A.B. Leach & Co.,

280 U.S. 351, 359 (1930) (holding that an erroneous appointment of a receiver

“plainly…[can] not [be] questioned by a collateral attack in another court.”). Wells

Fargo’s challenge of the district court’s orders in any other case would put Wells

Fargo and the parties right where we are now—knocking on the doorstep of the court

that issued the challenged orders.

      For these reasons, the district court erred in holding that Wells Fargo lacks a

concrete injury that can be redressed in this case. To the contrary, Wells Fargo

satisfied all the requirements of Article III standing.

II.   Wells Fargo Timely Moved to Intervene.

      The threshold issue for intervention is not timeliness alone, but the timeliness

of intervention once Article III standing is established and whether that timing

prejudices the other parties to the litigation. The district court’s order, applying the

incorrect legal standard, and the Appellees’ answering briefs discuss the purported

untimeliness of Wells Fargo’s intervention, at various points in time, without regard

to the threshold issues of Article III standing and prejudice to the parties. 1-ER-12–

15; Receiver Br. at 15-16; FTC Br. at 30-32.




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      A.     The District Court Abused its Discretion by Applying an Incorrect
             Legal Standard.

      The district court abused its discretion in determining the timeliness of Wells

Fargo’s intervention motion by focusing on when the district court entered the

Stipulated Judgments and administratively closed the case. 1-ER-7. Additionally, by

implying that Wells Fargo had to intervene as soon as it was “on notice that its

interests were at risk…when the Receiver filed a motion notifying the Court…[of] a

potential receivership estate lawsuit against Wells Fargo,” the district court focused

on the hypothesized outcome of the litigation, rather than on the incentives and

actions of the existing parties. See 1-ER-7; Smith v. Los Angeles Unified Sch. Dist.,

830 F.3d 843, 858 (9th Cir. 2016). As Appellees agree, “the crucial date for assessing

the timeliness of a motion to intervene is when [Wells Fargo] should have been

aware that their interests would not be adequately protected by the existing parties.”

Receiver Br. at 13 (citing Smith, 830 F.3d at 858); see also FTC Br. at 29 (citing W.

Watersheds Project v. Haaland, 22 F.4th 828, 835-36 (9th Cir. 2022)).

      Using an improper legal standard, the district court incorrectly held that Wells

Fargo’s intervention was not timely, without regard to: (a) Article III standing

requirements; (b) efforts in related litigation (Apex) to meet and confer to narrow the

scope of the intervention that would necessarily affect Wells Fargo’s intervention in

both cases; or (c) prejudice to the parties. On that basis, the district court held that

Wells Fargo was on notice that its interests might be adversely affected when: (1)


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the Receiver filed his motion requesting permission to sue Wells Fargo on February

4, 2020 (even though Wells Fargo was not a party to the litigation and was not served

with the motion or orders); (2) the Supreme Court entered its decision in AMG

Capital (even though the Receiver had not filed the Wells Fargo Litigation); (3) the

Receiver entered into pre-litigation negotiations with Wells Fargo to explore

resolution of the Receiver’s threatened claims in April 2020 (even though the

Receiver had not filed the Wells Fargo Litigation); and (4) the Receiver filed the

Wells Fargo Litigation on July 8, 2021 (before Wells Fargo had met and conferred

with the Receiver as required by the Apex court’s Standing Order)2. 1-ER-9–10.

      Contrary to the FTC’s and the Receiver’s contentions, the district court

imposed the wrong benchmark when it held that Wells Fargo had to intervene

essentially as soon as it knew or should have known that its interests might be

adversely affected by the outcome of the litigation. 1-ER-7–8. To be clear, the

correct standard—as the FTC points out—must consider when Wells Fargo should


2
  Because the Apex district court has a meet and confer requirement, Wells Fargo
met and conferred with the Receiver and the FTC on multiple occasions, with the
last meeting on August 23, 2021. 2-ER-41. Given the similarity of the challenge to
the orders in both Apex and Triangle, the meet and confer efforts in Apex naturally
impacted the substance of Wells Fargo’s challenge to the Triangle orders. As a result
of ongoing meet and confer efforts following the initial August 2021 discussion,
Wells Fargo narrowed the scope of its challenges; it determined to challenge the
orders related to the appointment of the Receiver and the orders permitting the
Receiver to pursue Wells Fargo – instead of challenging the Stipulated Judgments
in both cases. Accordingly, on November 11, 2021, Wells Fargo moved to intervene
as of right, under Rule 24(a), and permissively, under Rule 24(b). 2-ER-75–77.

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have been aware that its interests would not be adequately protected by the existing

parties. FTC Br. at 29; Smith, 830 F.3d at 854; Opening Br. at 33. Rather, the district

court merely applied the three factors outlined in Smith without analyzing when

Wells Fargo knew or should have known that its interests might be adversely

affected by the outcome of the litigation as the FTC’s cited case W. Watersheds

Project v. Haaland, 22 F.4th 828, 835-36 (9th Cir. 2022) held. 1-ER-7–8; FTC Br.

at 29; Receiver Br. at 14 (noting the district court merely applied the three Smith

factors with no analysis into when Wells Fargo should have been aware that its

interests would not be adequately protected by the existing parties). Failing to

analyze the Smith factors in the context of when Wells Fargo should have been aware

that its interests would not be adequately protected by the existing parties is an abuse

of discretion.

             1.     The District Court’s Determination was Illogical,
                    Implausible, and Without Support in the Record.

      Wells Fargo has established that the district court abused its discretion in

applying the three primary factors identified in Smith: “(1) the stage of the

proceeding at which the applicant seeks to intervene; (2) the prejudice to other

parties; and (3) the reason for and length of the delay.” See Opening Br. at 32-33; 1-

ER-9 (internal quotation marks omitted); see also W. Watersheds Project, 22 F.4th

at 836 (citing and quoting Smith, 830 F.3d at 854). The district court’s analysis was

flawed for several reasons. First, Wells Fargo established that it intervened at the


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only stage of the proceeding that it lawfully could. This is because before the

Receiver filed the Wells Fargo Litigation, Wells Fargo lacked Article III standing.

See Opening Br. at 34-37. Second, Wells Fargo could not intervene before it met and

conferred, as required by the district court’s Standing Order in Apex, which naturally

impacted the substance of Wells Fargo’s challenge to the Triangle orders. 2-ER-41;

Opening Br. at 14. Thus, any purported delay was reasonable. Lastly, as the Receiver

recognizes, the case may have been administratively closed, but it remains active for

purposes of the Receiver’s authority which Wells Fargo is challenging. Most

importantly, no parties will be prejudiced by Wells Fargo’s intervention because it

is not challenging the Stipulated Judgments and would not force any of the parties

to litigate across multiple actions. Receiver Br. at 22.

             2.     Wells Fargo Could Not Intervene Until the Receiver Filed
                    the Wells Fargo Litigation.

      The FTC exaggerates the facts by arguing that Wells Fargo “chose to sit on

the sidelines” after reciting events that occurred before the Receiver filed the Wells

Fargo Litigation and arguing that therefore the district court did not abuse its

discretion in finding that Wells Fargo’s intervention was untimely. FTC Br. at 34.

The FTC’s recitation of the events fails to acknowledge or consider – just as the

district court did not – that Wells Fargo did not have Article III standing to intervene

during many of those events. Wells Fargo had to wait to see if the Receiver would

actually pursue litigation against Wells Fargo based on authority rooted in an


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invalidated legal theory.3 Timeliness must be considered from when the intervenor

obtained Article III standing to intervene. See Town of Chester v. Laroe Estates, Inc.,

137 S. Ct. 1645, 1651 (2017) (“For all relief sought, there must be a litigant with

standing, whether that litigant joins the lawsuit as a plaintiff, a co-plaintiff, or an

intervenor of right. Thus, at the least, an intervenor of right must demonstrate Article

III standing when it seeks additional relief beyond that which the plaintiff

requests.”). Waiting to establish Article III standing before intervening is not an

excuse, nor is it delay for a “strategic advantage,” but it is a constitutional




3
  The Receiver cites R & G Mortg. Corp. v. Fed. Home Loan Mortg. Corp., 584 F.3d
1 (1st Cir. 2009), as support that a two-and-a-half month delay was unreasonable
where the proposed intervenor was a “sophisticated financial institution with lawyers
on staff”. Receiver Br. at 28. The case is inapposite. The proposed intervenors in R
& G had a stake in the settlement of the case, as it directly impeded proposed
intervenor’s servicing contract with a named party and their right to service loans.
Despite being informed of their affected interests, proposed intervenors delayed two
and a half months to seek intervention until after the consummation of the settlement.
Id. at *8-9. In contrast, Wells Fargo did not have a stake in the settlement in Triangle
and does not seek to disturb the underlying judgments against Defendants.
Additionally, Banco Popular de Puerto Rico is also inapposite as the proposed
intervenors, whose interests related to retention of discovery documents sought to
be destroyed by a protective order, asked the court to modify the protective order but
delayed in intervening until three months later when the protective order was
embodied in a final judgment. Banco Popular de Puerto Rico v. Greenblatt, 964
F.2d 1227, 1231 (1st Cir. 1992). In contrast, Wells Fargo was not given an
opportunity to challenge the basis of the appointment of the Receiver and does not
seek to disturb the underlying judgments against the Triangle Defendants. Wells
Fargo solely seeks to address the issues of the Receiver’s authority to pursue
monetary damages against Wells Fargo.

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requirement.4

      The district court held, and the FTC and the Receiver argue, that Wells Fargo

could, and should, have intervened when: (1) the Receiver filed his motion

requesting permission to sue Wells Fargo on February 4, 2020; (2) the Supreme

Court entered its decision in AMG Capital (even though the Receiver had not filed

the Wells Fargo Litigation); and (3) the Receiver filed the Wells Fargo Litigation on

July 8, 2021 (before Wells Fargo had met and conferred with the Receiver as

required by the Apex district court’s Standing Order).5 1-ER-9–10; Receiver Br. at

22-23; FTC Br. at 30-36. But the district court and Appellees fail to identify what

injury would have satisfied the “injury” requirement of Article III standing at those

points in time. Wells Fargo’s concrete and particularized injury was the filing of the

Wells Fargo Litigation. Wells Fargo could not have intervened at the issuance of the

AMG Capital opinion as the Receiver argues, because before the Wells Fargo

Litigation was filed, there was no particularized or concrete injury. Instead, all that

existed was a hypothetical injury that could only materialize when the Receiver filed


4
  The Receiver’s distinction of United States v. Aerojet Gen. Corp., Idaho Farm
Bureau Fed’n, and Dilks, is also misplaced. Despite the Receiver’s attempts to
distinguish, those courts found that the delay was not untimely. United States v.
Aerojet Gen. Corp., 606 F.3d 1142, 1149 (9th Cir. 2010) (four-month delay not
untimely); Idaho Farm Bureau Fed’n v. Babbitt, 58 F.3d 1392, 1397 (9th Cir. 1995)
(same); Dilks v. Aloha Airlines, 642 F.2d 1155, 1156 (9th Cir. 1981) (upholding
district court’s implied finding of timeliness of a motion to intervene filed eighteen
months after a complaint was filed).
5
  See supra n.4.

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suit against Wells Fargo.6

      The FTC and Receiver go further by arguing that non-parties should intervene

any time there is a threat of a lawsuit based on an unresolved circuit split. FTC Br.

at 31-32; Receiver Br. at 24. The result would be that every potential non-party with

any notion that its interests might be affected by a lawsuit would intervene

prematurely to preserve its right to intervene in the event an actual lawsuit is filed,

and in the event a circuit split is ever considered or resolved by the Supreme Court

or by legislation. This result invites an unmanageable spike of intervention that

Article III standing and constitutional principles are intended to prevent. Clark v.

City of Seattle, 899 F.3d 802, 808 (9th Cir. 2018) (“Article III of the Constitution

empowers us to adjudicate only ‘live cases or controversies,’ not ‘to issue advisory

opinions [or] to declare rights in hypothetical cases.’”). Despite well-established

constitutional principles, intervening before the Wells Fargo Litigation was filed

would have necessarily required that the district court declare rights based on a

hypothetical case, with hypothetical claims, and grounded on hypothetical legal




6
 The FTC’s reliance on the mere fact that Wells Fargo has been subject to litigation
brought by receivers appointed by the FTC in the past has no bearing on the fact that
any injury to Wells Fargo was hypothetical until the Receiver actually filed suit. FTC
Br. at 31 n.18.

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theories. It was only after the Wells Fargo Litigation was filed in July 2021, that a

concrete and particularized injury manifested, and a live case or controversy existed.

      The Receiver’s complaint in the Wells Fargo Litigation concedes that the

Receiver is seeking damages “to satisfy the FTC judgments” in order to “make whole

the consumers who were defrauded as a result of the Triangle and Triangle frauds

that Wells Fargo facilitated,” and to cover the FTC’s costs of defending the Triangle

and Apex matters (including Receivership costs in each matter). The Receiver also

continues to seek treble and punitive damages, increasing the Receiver’s claims to

more than half a billion dollars to satisfy the FTC judgments. Opening Br. at 14;

FER-44–50; FER-51–145. Before the Wells Fargo Litigation was filed, intervention

would have been based on conjecture and hypothetical legal theories that Wells

Fargo would have speculated would be the basis of any forthcoming suit. Grondal

v. United States, 37 F.4th 610, 621-22 (9th Cir. 2022) (where there was only the

threat of a lawsuit, “[t]here is no evidence in the record that any such lawsuit has

been filed by Mill Bay, and conjectural or hypothetical injuries cannot create Article

III standing.”).

      The FTC contends that Wells Fargo was on notice that its interests might be

implicated when the FTC served a subpoena on Wells Fargo during its investigation

of the Triangle Defendants and when Wells Fargo was served with third-party

discovery seeking information about the Triangle accounts, thus purportedly



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triggering the time to intervene. FTC Br. at 30. If this were true, all third-party

financial institutions, and other non-parties, would be required to intervene in a

government enforcement action every time the regulatory authority serves third-

party discovery, so they could preserve a future right to intervene in the event the

inquiry could implicate the non-parties ’interests. The SEC and FTC serve hundreds,

if not thousands, of subpoenas every year. See SEC, Investor Bulletin: SEC

Investigations    (Oct.   22,    2014),    https://www.sec.gov/oiea/investor-alerts-

bulletins/ib_investigations (The SEC “works on hundreds of investigation each

year” and can issue subpoenas requiring the production of documents and witness

testimony.); Donald R. C. Pongrace, Requirement of Notice of Third-Party

Subpoenas Issued in SEC Investigations: A New Limitation on the Administrative

Subpoena Power, 33 AM. U. L. REV. 701, 745 (1984) (“The SEC conducts as many

as 1200 formal investigations a year, 1982 SEC ANN. REP. 118, and issues

thousands of subpoenas in aid of these investigations.”). It would be absurd to

require the recipients of those hundreds or thousands of subpoenas to intervene when

served with a subpoena and clog up the federal courts in an effort to preserve a

speculative right that they may need to exercise in the future.

      Similarly, the FTC contends that Wells Fargo was on notice that its interests

might be implicated at various points: (1) by the Fall of 2018 because it was subject

to other unrelated actions regarding allegations of improper account opening



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practices; (2) when the Receiver sought court approval to hire contingency counsel,

and (3) when the Receiver served Wells Fargo with a proposed complaint along with

a mediation proposal. FTC Br. at 30-32. At the same time arguing that Wells Fargo

was on notice that its interests might be implicated by these three events and should

have intervened, the FTC admits that the Receiver’s lawsuit against Wells Fargo at

those points was speculative. FTC Br. at 31. The FTC admits the Receiver only filed

suit against Wells Fargo after “having exhausted other options.” Id. The FTC’s

contention that Wells Fargo should have intervened is an absurd suggestion that

parties are required to intervene into actions when there is a speculation that a lawsuit

may be initiated against them. See Or. Prescription Drug Monitoring Program v.

U.S. Drug Enf’t Admin., 860 F.3d 1228, 1235 (9th Cir. 2017) (a proposed intervenor

seeking relief different from the existing parties needs to have a concrete,

particularized, and actual or imminent injury to satisfy Article III standing, and

allegations of a possible future injury are not sufficient).

      Finally, moving to intervene four months after the Receiver filed the Wells

Fargo litigation is not untimely. This Court has held motions filed at or beyond four

months to be timely. See Aerojet Gen. Corp., 606 F.3d at 1149 (four-month delay

not untimely); United States v. Carpenter, 298 F.3d 1122, 1125 (9th Cir. 2002)

(reversing the district court’s denial of intervention where it filed the motion

eighteen months after the complaint was filed); Idaho Farm Bureau Fed’n, 58 F.3d



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at 1397 (same); Dilks, 642 F.2d at 1156 (upholding district court’s implied finding

of timeliness of a motion to intervene filed eighteen months after a complaint was

filed); Citizens for Clean Air v. Wheeler, No. C18-1803 TSZ, 2019 WL 3205851, at

*2 (W.D. Wash. July 16, 2019) (six month delay in seeking intervention since the

case was filed was found not untimely).

             3.    The District Court Abused Its Discretion in Finding that
                   Wells Fargo Brought Its Motion Late in the Proceeding.

      The district court abused its discretion in finding that intervention was

untimely because the case was closed since November 2019. 1-ER-9. As an initial

matter, the case is not closed. The district court has left the case open and has

retained jurisdiction permitting the Receivership to continue to complete the

Receiver’s work. 2-ER-84.

      Additionally, piggybacking on the district court’s erroneous determination,

the FTC argues that because the case is closed Wells Fargo’s motions “runs the risk

of undoing settlements that parties had entered into more than two years earlier.”7

FTC Br. at 33. But that is not supported by the record. In the same vein, the FTC and

Receiver repeatedly, mistakenly claim that Wells Fargo seeks to vacate the


7
  The Receiver similarly argues that Wells Fargo’s motion is tardy because the
parties have settled their claims, citing Snoqualmie Indian Tribe v. Wash., No. 3:19-
CV-06227-RBL, 2020 WL 4729178, at *1 (W.D. Wash. Apr. 16, 2020), and
Montgomery v. United States, No. 09-CV-1588 JLS WVG, 2012 WL 124854, at *8
(S.D. Cal. Jan 17, 2012). Receiver Br. at 29. However, unlike in those cases, Wells
Fargo will not disturb the parties’ settlement, unlike the proposed intervenors.

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Stipulated Judgments. That is wrong. As Wells Fargo has stated multiple times in

the underlying intervention briefing, and in its opening brief, Wells Fargo seeks

intervention solely to challenge the district court’s orders granting the Receiver

authority to pursue monetary damages against Wells Fargo. See FER-9; FER-23;

FER-24–25; FER-27; 2-ER-23; 2-ER-34; Opening Br. at 1, 14, 34, 40.

      Put differently, it is an abuse of discretion for a district court to continue to

authorize a Receiver, who was initially empowered under Section 13(b), to pursue a

monetary judgment secured under Section 13(b), when AMG Capital held that no

monetary judgments can be secured under Section 13(b). The question is simply

whether a district court can properly act within its discretion to authorize a receiver

– and in this case, a receiver empowered under Section 13(b) – to pursue future

monetary relief based on that erroneous judgment post-AMG Capital. This is the

question that Wells Fargo presents and is doing so without disturbing the prior

Stipulated Judgments. The Stipulated Judgments will continue to stand – they just

will not be buttressed by additional funds prospectively secured from Wells Fargo.

      Not only does Wells Fargo’s intervention not disturb the Stipulated Judgments

it also does not disturb the Receiver’s other, ongoing work to marshal the assets of

the Triangle entities. Indeed, on November 9, 2018, the Receiver filed his Interim

Status Report to the district court outlining his efforts to recover “Defendants’ assets

in the U.S. and internationally.” FER-33. The Receiver has collected $1,025,796.51



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from merchant accounts in the United States, assisted with the sale of defendant

Brian Phillip’s home, and other equipment and furniture. FER-41–43. Clearly, the

Receiver’s efforts are distinct from the Wells Fargo Litigation, and Wells Fargo’s

challenge to the Receiver’s pursuit of Wells Fargo will have no effect of the

Receiver’s other, separate efforts as outlined in his report.

             4.     The District Court Abused its Discretion in Finding
                    Prejudice.

      Significantly, the district court’s finding that Wells Fargo’s motion to

intervene was untimely did not properly assess the lack of prejudice to the parties on

account of the timing of the motion. To properly assess timeliness, courts must

analyze the prejudice to the other parties. See Smith, 830 F.3d at 854. A ‘“[m]ere

lapse of time alone is not determinative’…prejudice to other parties in connection

with the proposed intervention is a[n] … important factor in the timeliness

determination.” Smith v. Marsh, 194 F.3d 1045, 1051 (9th Cir. 1999) (citing Orange

Cnty. v. Air Cal., 799 F.2d 535, 537 (9th Cir. 1986)). There is no support for the

district court’s improper determination that the FTC would be prejudiced because it

is still empowered to pursue monetary judgement against Wells Fargo regardless of

Section 13(b)’s applicability, and that if intervention was granted “the FTC would

no doubt be forced to relitigate issues that have already been adjudicated in this

case.” 1-ER-8; 1-ER-10.

      Contrary to the district court’s findings, and the FTC and Receiver’s


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arguments, the FTC was not prejudiced by having to litigate the same issues twice,

because Wells Fargo’s motion is not predicated on the Stipulated Judgments but is

predicated on the orders giving the Receiver authority to pursue Wells Fargo. In

short, it is not the same issue. Despite the Receiver’s contentions, Wells Fargo is not

seeking to modify or overturn the Stipulated Judgments. See, e.g., United States v.

State of Or., 745 F.2d 550, 553 (9th Cir. 1984) (finding no prejudice, in part, because

the parties would not have to relitigate matters). It is false that “the judgments are

Wells Fargo’s real targets” and that the FTC would have to relitigate the Triangle

judgment. Receiver Br. at 19-20. Wells Fargo does not agree with the FTC’s

contention that the receivership orders are “part and parcel” of the Stipulated

Judgments. FTC Br. at 37. Wells Fargo does not seek to upset the agreed upon

Stipulated Judgments. Remedying the erroneous construction of 13(b) that resulted

in appointing the Receiver will have no effect on the Stipulated Judgments and the

monetary amounts stipulated to therein, and therefore the FTC will not be forced to

relitigate the Stipulated Judgements.8

      Wells Fargo seeks to vacate or modify the orders authorizing the Receiver to

prospectively pursue litigation against Wells Fargo based on those Stipulated

Judgments. The district court has specifically kept the case open for the purpose of


8
 Moreover, the Receiver’s argument that Wells Fargo lacks the ability under Federal
Rule 60 to challenge the stipulated judgments not only misinterprets Wells Fargo’s
argument but impermissibly reaches the merits and is premature at this juncture.

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monitoring to the Receiver’s activity. 2-ER-84. A finding of prejudice on this basis

is completely unsupported by the record and is an abuse of discretion.9

                                   CONCLUSION

      For these reasons and those the opening brief, this Court should reverse the

order denying Wells Fargo’s motion for intervention.



Dated: June 29, 2023                  Respectfully submitted,
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9
 Because the district court denied permissive intervention based on the same legal
errors, the same analysis would require reconsideration of Wells Fargo’s motion
under Rule 24(b) on remand. See Opening Br. at 41.

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                         CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the length limitations in 9th Cir. R. 32-1(b)

because it contains 6,076 words, excluding the parts of the brief exempted by Fed.

R. App. P. 32(f).

      2.     This brief complies with the typeface and type-style requirements of

Fed. R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because it has been prepared

in a proportionally spaced typeface using Microsoft Word, in 14-point size Times

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Dated: June 29, 2023                  /s/ Brian D. Schmalzbach
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                            CERTIFICATE OF SERVICE

      I hereby certify that on June 29, 2023, the foregoing was filed with the Clerk

of the United States Court of Appeals for the Ninth Circuit using the appellate

CM/ECF system, which will also serve counsel of record.



Dated: June 29, 2023                  /s/ Brian D. Schmalzbach
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